Case 2:96-cr-20052-SHI\/| Document 424 Filed 09/01/05 Page 1 of 2 Page|D 272

 

IN THE UNITED STATES DISTRICT coURT Fu.ED BY lJL--- °'d'
FoR THE wESTERN DISTRICT oF TENNESSEE .
wESTERN DIVISION 951ng -\ PH 5= \0
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UNITED sTATES oF AMERICA, MESVE;LSIQHCTOOLBT

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VS. NO. 96-20052-Ma

JAMES SPENCER,

Defendant.

 

ORDER RESETTING SENTENCING DATE

 

_ Before the court is the defendant's September l, 2005r
motion to reset the sentencing of James Spencer, which is
presently set for September 2, 2005. For good cause shown, the
motion is granted. The sentencing of defendant James Spencer is

reset to Thursday, October 6, 2005, at 9:00 a.m.

It is so ORDERED this ‘:£ day of September, 2005.

M//'wz_____

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This enactment entered on the docket sh et in cognizance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 424 in
case 2:96-CR-20052 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

